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                                                                                    Theresa Wardon Benz
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        December 29, 2023

        Via CM/ECF

         Mr. Christopher M. Wolpert
         Clerk of Court
         United States Court of Appeals for the Tenth Circuit
         Byron White United States Courthouse
         1823 Stout Street
         Denver, CO 80257-1823

        Re:     F.R.A.P. 28(j) Citation of Supplemental Authority by Appellees in
                Mike Boulter, et al., Plaintiffs-Appellants v. Noble Energy, Inc. and Kerr-
                McGee Oil & Gas OnShore, LP, Defendants-Appellees, Case No. 23-1118

        Dear Mr. Wolpert:

        Pursuant to F.R.A.P. 28(j), Appellees notify the Court of the November 22, 2023
        order in Boulter v. Noble et al., No. 20-cv-0861-WJM-SBP (“Boulter I”), Denying
        Plaintiffs’ Motion for Relief from the Court’s Dismissal Order and Judgment
        Without Prejudice (ECF 71), attached as Exhibit A.

        This case is an appeal from the fourth action Plaintiffs brought on behalf of
        themselves and a purported class. The first action, Boulter I, was dismissed in
        2021, due to Plaintiffs’ failure to exhaust administrative remedies by failing to first
        raise their dispute to the Colorado Oil and Gas Conservation Commission
        (“Commission”). Plaintiffs did not appeal but instead filed three identical,
        successive actions.

        On April 25, 2023, Plaintiffs filed a Rule 60(b) motion seeking relief from the trial
        court’s dismissal of Boulter I (ECF 60). In the Motion, Plaintiffs argued that the
        Colorado Supreme Court’s opinion in Antero Res. Corp. v. Airport Land Partners,
        Ltd, 2023 CO 13 (“Airport Land II”), determined that “exhaustion of Plaintiffs’
        administrative remedies with the Commission was never necessary, or even
        feasible, as it would be futile,” and on that ground asked the district court to vacate
        its dismissal of Boulter I. (ECF No. 60 at 2). Plaintiffs raise a similar argument in
        this appeal. See Op. Br. at 14-15.


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 Mr. Christopher M. Wolpert
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 The Boulter I district court denied Plaintiffs’ Rule 60(b) Motion, concluding,
 “Plaintiffs’ argument that the Colorado Supreme Court’s decision undeniably
 supports their position is without merit” because “the issue that was dispositive in
 Boulter I was not at issue in either iteration of Airport Land.” (ECF No. 71 at 10).
 Thus, the Order yet again shows that Plaintiffs’ argument that Airport Land II
 constitutes an intervening change in law must be rejected. See Answer Br. at 11-
 12.

 Additionally, with regard to Plaintiffs’ argument that they would have “no forum
 in which to litigate,” the district court agreed with Defendants that “Plaintiffs are in
 their current predicament based on their own ‘calculated choices’” and “bound by
 their strategic decision to refile their case three different times rather than to appeal
 Boulter I.” (ECF No. 71 at 11). See Answer Br. at 15.



 Respectfully submitted,




 Theresa Wardon Benz
 Partner
 for
 DAVIS GRAHAM & STUBBS LLP


 cc: CM/ECF recipients
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                EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Civil Action No. 20-cv-0861-WJM-SBP

   MIKE BOULTER,
   BOULTER, LLC,
   RALPH NIX PRODUCE, INC., and
   BARCLAY FARMS, LLC, on behalf of themselves and classes of similarly situated
   persons,

          Plaintiffs,

   v.

   NOBLE ENERGY, INC., and
   KERR-MCGEE OIL & GAS ONSHORE, LP,

          Defendants.


        ORDER DENYING PLAINTIFFS’ MOTION FOR RELIEF FROM THE COURT’S
             DISMISSAL ORDER AND JUDGMENT WITHOUT PREJUDICE


          Before the Court is Plaintiffs Mike Boulter; Boulter, LLC; Ralph Nix Produce, Inc.;

   and Barclay Farms, LLC’s (collectively, “Plaintiffs”) Motion for Relief from the Court’s

   Dismissal Order and Judgment Without Prejudice (“Motion”). (ECF No. 60.)

   Defendants Noble Energy, Inc. and Kerr-McGee Oil & Gas Onshore, LP’s (jointly,

   “Defendants”) filed a response. (ECF Nos. 61.) Plaintiffs filed a reply. (ECF No. 62.)

   The parties also filed supplemental briefing in light of the Tenth Circuit Court of Appeals’

   ruling in Boulter v. Noble Energy Inc., 74 F.4th 1285 (10th Cir. 2023). (ECF Nos. 68,

   69.) For the following reasons, the Motion is denied.

                        I. BACKGROUND AND PROCEDURAL HISTORY

          On February 17, 2021, the undersigned granted Defendants’ motions to dismiss,
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   holding that Plaintiffs were required to first present their dispute to the Colorado Oil &

   Gas Conservation Commission (“COGCC”), which would determine whether the case

   was one involving a bona fide dispute regarding interpretation of a contract. (ECF No.

   58 at 10 (citing Colo. Rev. Stat. 34-60-118.5(5.5)) (“Boulter I”). “Only in the event that

   the [Commission] finds that such a dispute exists does it decline jurisdiction,” at which

   point the parties may proceed to litigation. (Id.) Accordingly, the Court dismissed

   Plaintiffs’ action without prejudice for failure to exhaust their administrative remedies.

   (Id. at 16.) Notably, Plaintiffs chose not to file a motion for reconsideration or appeal the

   Court’s decision to the Tenth Circuit.

          Instead, in the years since the Court’s decision in Boulter I, Plaintiffs have filed

   three identical lawsuits in the District of Colorado. See Civil Action Nos. 1:21-cv-1346-

   RM-KLM (“Boulter II”), 1:21-cv-3500-RM-SKC (“Boulter III”), and 1:22-cv-1843-DDD-

   SKC (“Boulter IV”).

          In Boulter II, the court rejected Plaintiffs’ argument that the decision of the

   Colorado Court of Appeals in Antero Resources Corporation v. Airport Land Partners

   Limited, 2021 WL 2365973 (Colo. App. June 3, 2021), aff’d sub nom. Antero Resources

   Corp. v. Airport Land Partners, Ltd., 2023 CO 13, 526 P.3d 204 (Colo. 2023), was a

   significant intervening change in the law that permitted them to essentially refile their

   case, and that case was also dismissed. (Boulter II, ECF No. 47 at 1–2 (“But nothing in

   that decision refutes the central rationale of Judge Martinez’s Order, which is that the

   COGCC determines in the first instance whether it will decline jurisdiction because a

   bona fide dispute exists.”).)

          In Boulter III, the court again dismissed the case, declining “to allow Plaintiffs a




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   third bite because their arguments are not new, and nothing of significance has

   changed.” (Boulter III, ECF No. 23 at 2.)

          In Boulter IV, the court yet again dismissed Plaintiffs’ case as precluded by res

   judicata. (Boulter IV, ECF No. 41 at 4.) Importantly, in dismissing Boulter IV, the court

   explained why the Colorado Supreme Court’s decision in Antero did not constitute a

   significant intervening change in the law.

                 The problem, though, is that (as Judge Moore recognized in
                 Boulter II) the issue that was dispositive in Boulter I was not
                 at issue in either iteration of Airport Land. Boulter I held that
                 Plaintiffs were required to first present their dispute to the
                 Colorado Oil & Case Conservation Commission which would
                 determine whether the case was one involving a “bona fide
                 dispute regarding interpretation of a contract.” Boulter I at
                 10 (citing Colo. Rev. Stat. 34-60-118.5(5.5)). “Only in the
                 event that the [Commission] finds that such a dispute exists
                 does it decline jurisdiction” at which point the parties may
                 proceed to litigation. Id.

                 That was not in question in Airport Land. What both the
                 court of appeals and the supreme court addressed there was
                 what constitutes such a bona fide dispute regarding
                 interpretation of a contract. See Antero Resources Corp.,
                 2023 WL 2640471 at *2. The plaintiff in that case had in fact
                 taken its dispute to the Commission, and the question was
                 whether the Commission was right that the matter was not
                 one of contract interpretation and therefore properly within its
                 jurisdiction. Id. In other words, Airport Land is about the
                 second step of the process described in Boulter I. But
                 Boulter I turned on the first step: presenting the dispute to
                 the Commission for the initial determination. That the
                 Colorado Supreme Court held that at the second step that
                 the dispute was a matter of contract interpretation so the
                 Commission should have declined jurisdiction does not say
                 anything about whether Boulter I was wrong about the first
                 step. Airport Land is therefore not a significant intervening
                 change in the law,[] and this case is barred by res judicata.

                 The remainder of Plaintiffs’ arguments are attempts to
                 explain why Boulter I was wrong, and exhaustion was not
                 required or would be futile. See Doc. 32 at 14-18. But even



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                  if I thought Boulter I (and Boulter II, and Boulter III) was
                  wrongly decided, I would be compelled to grant the motion to
                  dismiss this case as precluded by res judicata. A party who
                  believes a district court wrongly dismissed its case has a
                  number of options: it can ask for reconsideration or it can
                  appeal, for example, and have the result reversed. Filing the
                  same case three more times is not one of those options.

   (Boulter IV, ECF No. 41 at 3–4.)

          Plaintiffs appealed Boulter II, Boulter III, and Boulter IV. On July 27, 2023, the

   Tenth Circuit affirmed the dismissals of Boulter II and Boulter III based on res judicata.

   (ECF No. 64.) The Tenth Circuit analyzed whether an exception to res judicata

   advanced by Plaintiffs—an alleged change in law as a result of a Colorado Court of

   Appeals decision in Antero—prevented application of Boulter I. 1 The Tenth Circuit

   concluded that even if it overlooked the unpublished and thus non-binding nature of the

   Colorado Court of Appeals’ decision in Antero, the panel could not see how it changed

   Colorado law. (ECF No. 64-1 at 17.) Instead, the Tenth Circuit characterized the

   Colorado Court of Appeals’ decision in Antero as merely deciding whether the COGCC

   correctly concluded it lacked jurisdiction under that case’s facts. (Id.) Accordingly, that

   “fact-based inquiry” alone did not demonstrate a change in the law, and the court found

   that Boulter I precluded Plaintiffs from relitigating exhaustion and futility in Boulter II and

   Boulter III. Because Plaintiffs failed to exhaust their administrative remedies with

   COGCC, the Tenth Circuit concluded that the district court lacked subject matter

   jurisdiction over both Boulter II and III.

          On April 13, 2023, Plaintiffs appealed the dismissal of Boulter IV, and that appeal

          1
            The Colorado Supreme Court had not yet issued its opinion affirming the Colorado
   Court of Appeals’ opinion at the time the Tenth Circuit ruled, and therefore, the Tenth Circuit
   only addressed the Colorado Court of Appeals’ decision in affirming Boulter III and Boulter IV.
   (ECF No. 64-1 at 12.)



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   remains pending before the Tenth Circuit. (Boulter IV, ECF No. 43.)

          Not two weeks later, on April 25, 2023, Plaintiffs filed the instant Motion,

   requesting Rule 60 relief from this Court. (ECF No. 60.)

                                      II. LEGAL STANDARD

          “On motion and just terms, the court may relieve a party or its legal

   representative from a final judgment, order, or proceeding for [six] reasons[.]” Fed. R.

   Civ. P. 60(b). The first five reasons are scenarios that arise with enough frequency to

   be specifically called out (e.g., excusable neglect, newly discovered evidence,

   satisfaction of judgment). See Fed. R. Civ. P. 60(b)(1)–(5). Then Rule 60(b)(6) permits

   a court to grant relief for “any other reason justifying relief.” While relief under the five

   enumerated clauses of Rule 60(b)(1)–(5) is “extraordinary and may only be granted in

   exceptional circumstances,” “Rule 60(b)(6) relief is even more difficult to attain and is

   appropriate only when it offends justice to deny such relief.” Yapp v. Excel Corp., 186

   F.3d 1222, 1231–32 (10th Cir. 1999).

          Ultimately, all Rule 60(b) motions are addressed to the sound discretion of the

   trial court. Zimmerman v. Quinn, 744 F.2d 81, 82 (10th Cir. 1984).

                                           III. ANALYSIS

          Plaintiffs argue that the Court should grant relief under Rule 60(b)(4), (5), or (6).

   (ECF No. 60 at 11–15.) The Court rejects their arguments for the following reasons.

   A.     Rule 60(b)(4)

          Plaintiffs argue that the Court’s decision is void; specifically, they argue that the

   decision was “inconsistent with due process, because it prevented Plaintiffs from having

   a court of competent jurisdiction in which to litigate their claims, depriving Plaintiffs of an

   opportunity to be heard on the merits of their case.” (ECF No. 60 at 12.) They contend


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   that the Court deprived them of “any opportunity to have their claims heard.” (Id.)

          Not so. “Relief for lack of due process is not appropriate in a case in which the

   district court has not deprived a party of ‘notice, hearing, or other fundamental

   constitutional rights. . . .’” Wilson v. Reid, 838 F. App’x 351, 355 (10th Cir. 2020)

   (citation omitted). According to the Supreme Court, “’[a] judgment is not void,’ for

   example, ‘simply because it is or may have been erroneous.’” United Student Aid

   Funds, Inc. v. Espinosa, 559 U.S. 260, 270–71 (2010) (quoting Hoult v. Hoult, 57 F.3d

   1, 6 (1st Cir. 1995) (additional citations omitted)). “Similarly, a motion under Rule

   60(b)(4) is not a substitute for a timely appeal.” Id. (citing Kocher v. Dow Chemical Co.,

   132 F.3d 1225, 1229 (8th Cir. 1997)); see also Matter of Novoa, 690 F. App’x 223, 227

   (5th Cir. 2017) (rejecting Rule 60(4)(b) motion partially on basis that party did not

   appeal, and the court will not allow litigants to use Rule 60(b)(4) as substitute for a

   direct appeal). “Instead, Rule 60(b)(4) applies only in the rare instance where a

   judgment is premised either on a certain type of jurisdictional error or on a violation of

   due process that deprives a party of notice or the opportunity to be heard.” Id. (citing

   United States v. Boch Oldsmobile, Inc., 909 F.2d 657, 661 (1st Cir. 1990) (additional

   citations omitted)). For a judgment to be void under Rule 60(b)(4), the entering court

   must have been powerless to enter the judgment at the time it was entered. V.T.A., Inc.

   v. Airco, Inc., 597 F.2d 220, 224 (10th Cir. 1979).

          The Court finds that its February 17, 2021 Order is not void. As Defendants

   explain, the Court would have needed to deprive Plaintiffs of their due process rights in

   the issuing of the order. (ECF No. 61 at 9.) However, even Plaintiffs do not argue in

   their Motion that the Court’s Order was void ab initio or that the Court failed to give them




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   notice and an opportunity to be heard on the jurisdictional dispute between the parties.

   Plaintiffs had such an opportunity, which they took advantage of in litigating Defendants’

   motions to dismiss. They also had the opportunity to appeal the Court’s Order, which

   they decided not to do. Cf. Johnson v. Spencer, 950 F.3d 680, 698 (10th Cir. 2020)

   (“Even assuming that such a due-process argument is cognizable under Rule 60(b)(4),

   we conclude that Mr. Johnson waived it by abandoning it in his direct appeal[.]”).

          This Court’s judgment was not void when entered, and the Court did not violate

   Plaintiffs’ due process rights. To the extent Plaintiffs contend that the Court’s Order was

   erroneous, the Supreme Court has found that even such error would not render the

   judgment “void” under Rule 60(b)(4). Espinosa, 559 U.S. at 270–71. And Plaintiffs

   cannot “use Rule 60(b)(4) to circumvent an appeal process they elected not to follow.”

   Wendt v. Leonard, 431 F.3d 410, 412 (4th Cir. 2005). Accordingly, the Court denies the

   Motion under Rule 60(b)(4.)

   B.     Rule 60(b)(5)

          Rule 60(b)(5) allows a district court to grant relief from a final order if “it is no

   longer equitable that the judgment should have prospective application.” Fed. R. Civ. P.

   60(b)(5). Invoking this portion of Rule 60, Plaintiffs contend that “applying the judgment

   prospectively is no longer equitable.” (ECF No. 60 at 14.) Plaintiffs “believe this case

   presents a unique set of circumstances which requires a more liberal reading of Rule

   60(b)(5) than has historically been applied, especially in light of the equitable

   considerations embodied directly within Rule 60(b)(5).” (Id. at 15.)

          Plaintiffs concede that they “do not believe Colorado law surrounding resolution

   of royalty underpayment claims, and the corresponding jurisdiction of the courts and the

   Commission has ‘changed’ per se[.]” (Id. at 14.) Nevertheless, they argue that the


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   Colorado Supreme Court’s opinion resolves any doubt that they cannot resolve their

   claims before the COGCC because it has no jurisdiction to hear them. (Id.) Further,

   they explain that other District of Colorado judges have “prospectively applied to prevent

   Plaintiffs from having their claims heard due [to] repeated reliance on this Court’s

   February 17, 2021 dismissal Order.” (Id. (citing Boulter II, ECF No. 47; Boulter III, ECF

   No. 23; Boulter IV, ECF No. 41).) Thus, according to Plaintiffs “[t]he alternative result is

   that Plaintiffs will have no forum in which to litigate their royalty underpayment claims

   against Defendants, an inexplicable inequity.” (Id.)

          The Court determines that Rule 60(b)(5) does not provide the relief Plaintiffs

   seek. Other courts have found that this provision is limited to orders like “injunctions

   and consent decrees that involve long-term supervision of changing conduct or

   conditions.” See, e.g., Comfort v. Lynn School Committee, 560 F.3d 22, 28 (1st Cir.

   2009). Dismissals without prejudice do not have the “prospective application”

   contemplated by Rule 60(b)(5). See Picco v. Global Marine Drilling Co., 900 F.2d 846,

   851 (5th Cir. 1990) (dismissal without prejudice for forum non conveniens not

   prospective for purposes of Rule 60(b)(5)).

          Accordingly, the Court’s judgment dismissing Plaintiffs’ claims without prejudice

   does not have prospective application in the unique manner which Plaintiffs argue. To

   the contrary, the Court’s judgment applies “prospectively” only in the sense that “it

   precludes relitigation of the issues decided, which is clearly not enough.” Id.

   Defendants correctly point out that Plaintiffs fail to cite any authority supporting their

   apparently novel application of Rule 60(b)(5). (ECF No. 61 at 11.)

          “Having failed to appeal” this Court’s Order, Plaintiffs “cannot correct alleged




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   errors under the guise of a 60(b)(5) motion.” Lightfoot v. Union Carbide Corp., 1997 WL

   752357, at *3 (S.D.N.Y. Dec. 2 1997) (citing Cruickshank & Co., Ltd. v. Dutchess

   Shipping Co., 805 F.2d 465, 468 (2d Cir. 1986)); see also Title v. United States, 263

   F.3d 28, 31 (9th Cir. 1959) (expressly recognizing that the underlying judgment was

   erroneous, yet denying Rule 60(b)(5) relief because the error should have been raised

   in a direct appeal). Accordingly, the Court denies the Motion under Rule 60(b)(5). 2

   C.     Rule 60(b)(6)

          Plaintiffs argue that “[t]he reality of this unfortunate situation is, Plaintiffs have

   been wholly precluded from prosecuting the merits of their breach of contract claims

   against Defendants for more than 3 years, and will continue to be precluded from

   having their day in court unless and until this Court grants relief from its prior 2021

   dismissal Order.” (ECF No. 60 at 9–10.) They ask that the Court liberally interpret Rule

   60 because the facts in this case are “exceptional.” (ECF No. 68 at 4.)

          According to the Tenth Circuit, Rule 60(b) relief “is extraordinary and may only be

   granted in exceptional circumstances.” Zurich N. Am. v. Matrix Serv., Inc., 426 F.3d

   1281, 1289 (10th Cir. 2005) (quoting Servants of Paraclete v. Does, 204 F.3d 1005,

   1009 (10th Cir. 2000)). “Parties seeking relief under Rule 60(b) have a higher hurdle to

   overcome because such a motion is not a substitute for an appeal.” Id. Rule 60(b)(6)

   “is appropriate only when it offends justice to deny such relief.” Yapp, 186 F.3d at 1232

   (citation omitted).
          2
            Rule 60(c)(1) requires that Rule 60(b)(5) and (6) motions be brought in a “reasonable
   time.” “[W]hat constitutes ‘reasonable time’ for a filing under Rule 60(b) depends on the facts of
   each case.” Ingram v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 371 F.3d 950, 952 (7th Cir.
   2004). Over two years have passed since the undersigned entered judgment in this case, and
   other than their failure to obtain the relief they seek from other judges in this District, Plaintiffs
   offer no explanation concerning why the timing of this Motion is reasonable under Rule 60(c)(1),
   which is yet another reason to deny the Motion. (See ECF No. 61 at 10 n.3.)



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         Plaintiffs’ argument that the Colorado Supreme Court’s decision undeniably

  supports their position is without merit. United States District Judges Raymond Moore

  and Daniel Domenico have interpreted the Colorado Court of Appeals’ and the Colorado

  Supreme Court’s decisions in Antero and have determined that “the issue that was

  dispositive in Boulter I was not at issue in either iteration of Airport Land.” (Boulter IV,

  ECF No. 41 at 3.) Moreover, Plaintiffs’ argument that they are entirely foreclosed from

  relief if this Motion is not granted is without merit. As Defendants point out, if Plaintiffs

  are successful in their appeal of Boulter IV, the merits of their claims could be decided

  on remand, refuting their argument that denial of the instant Motion would mean their

  breach of contract claims will never be heard on the merits. (ECF No. 69 at 4 (citing

  ECF No. 62 at 3).)

         The Court agrees with Defendants’ contention that Plaintiffs are in their current

  predicament based on their own “calculated choices.” (ECF No. 61 at 13.) As one

  court in the Second Circuit succinctly stated, “a Rule 60(b) motion is no substitute for a

  direct appeal of an allegedly erroneous judgment.” Lightfoot, 1997 WL 752357, at *3

  (citation omitted). Plaintiffs argue that they had “more than a good faith basis not to

  appeal, but rather, to refile in this Court, to preserve their claims, all the while also

  seeking a jurisdictional determination from the Commission.” (ECF No. 68 at 5.)

         What Plaintiffs fail to acknowledge is that while of course they were free to

  choose how to litigate their claims, they are also bound by their strategic decision to

  refile their case three different times rather than to appeal Boulter I. As Defendants

  contend, they are here “because of their failure to appeal the Court’s dismissal and their

  decision to engage in three years of procedural gymnastics to avoid exhausting their




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  administrative remedies.” (ECF No. 61 at 13.) Particularly in light of the fact that

  Plaintiffs have an appeal pending in the Tenth Circuit in Boulter IV, the Court finds that

  Plaintiffs are not entitled to relief under Rule 60(b)(6).

                                       IV. CONCLUSION

         For the foregoing reasons, the Court ORDERS that Plaintiffs Mike Boulter;

  Boulter, LLC; Ralph Nix Produce, Inc.; and Barclay Farms, LLC’s Motion for Relief from

  the Court’s Dismissal Order and Judgment Without Prejudice (ECF No. 60) is DENIED.

  This case remains closed.


         Dated this 22nd day of November, 2023.

                                                     BY THE COURT:



                                                     ______________________
                                                     William J. Martínez
                                                     Senior United States District Judge




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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of this F.R.A.P. RULE 28(j) Citation of
  Supplemental Authority by Appellees was electronically filed on December 29,
  2023, with the Clerk of the Tenth Circuit Court of Appeals using the CM/ECF
  system and was served upon all counsel of record, including:

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                                                     /s/ Pamela Wagner
